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               EXHIBIT 19
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           Fiber-optic Rotary Joints
           In neurosciences, freely-moving optogenetics experiments need a stable light input to the brain even if the animal ismoving in a confined space. Fiber-optic Rotary Joints avoid the damaging
           of the optical fibers while minimizing light fluctuations when rotating. The nomenclature used for our rotary joints is FRJ m X n where m and n represent the...
           More



    FIBER-OPTIC ROTARY JOINTS                                                                                                                                                      There are 5 products.


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               1x1 Fiber-optic Rotary Joints                                   1x2 Fiber-optic Rotary Joints - Intensity                      1x2 Fiber-optic Rotary Joints - Wavelength
                                                                                               Division                                                        Division




           Separate Light Path 2x2 Fiber-optic                                        1x4 Fiber-optic Rotary Joints
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